             THE UNITED STATES DISTRICT COURT
        FOR THE WESTERN DISTRICT OF NORTH CAROLINA
                     ASHEVILLE DIVISION
             CRIMINAL CASE NO. 1:07-cr-00033-MR-3


UNITED STATES OF AMERICA,       )
                                )
                                )
              vs.               )              ORDER
                                )
                                )
JEANNIE L. COSBY.               )
_______________________________ )

     THIS MATTER is before the Court on the Defendant’s “Motion to

Correct Wrongful Sentencing Status” [Doc. 496].

     In her motion, the Defendant moves the Court “to make the

necessary correction in her file . . . to remove the statutory life sentence

from her record.” [Doc. 496 at 1]. On June 13, 2007, the Defendant pled

guilty pursuant to a written plea agreement to one count of conspiracy to

possess with intent to distribute between 50 and 150 grams of cocaine

base. Prior to sentencing, the Government filed a notice pursuant to 21

U.S.C. § 851 of the Defendant’s three prior felony drug convictions, which

subjected her to a mandatory sentence of life imprisonment. [Doc. 95]. At

her sentencing on October 31, 2007, the Defendant was found to be a

career offender and sentenced pursuant to U.S.S.G. § 4B1.1.               The

Defendant, however, received a sentence below the mandatory statutory


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minimum because the Government moved for a downward departure

pursuant to U.S.S.G. §5K1.1 based on substantial assistance. [Doc. 176].

The Defendant was ultimately sentenced to 168 months’ imprisonment.

[Doc. 185].

     The Judgment in this case accurately reflects the Defendant’s

sentence of 168 months’ imprisonment. The Defendant’s motion to correct

her “wrongful sentencing status” is therefore denied.

     IT IS, THEREFORE, ORDERED that the Defendant’s “Motion to

Correct Wrongful Sentencing Status” [Doc. 496] is DENIED.

     IT IS SO ORDERED.

                                Signed: December 4, 2013




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